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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   Timothy P. Neumann, Esq. [TN6429]
   Broege, Neumann, Fischer & Shaver, LLC
   25 Abe Voorhees Drive
   Manasquan, New Jersey 08736
   tneumann@bnfsbankruptcy.com
   (732) 223-8484

   Attorneys the Debtor/Debtor-in-Possession
   Bay Three Limited, Inc.

   In Re:                                               Case No.: 12-15866

   BAY THREE LIMITED, INC.,                             Chapter 11

            Debtor.
                                                        Judge: Michael B. Kaplan



    NOTICE OF MOTION PURSUANT TO SECTIONS 105(a) AND 363 OF THE
 BANKRUPTCY CODE AND BANKRUPTCY RULES 2002 AND 6004 FOR AN ORDER
 APPROVING BIDDING PROCEDURES AND APPROVING THE SALE OF LIQUOR
    LICENSE FREE AND CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES

 TO:    ALL PARTIES ON THE ANNEXED SERVICE LIST

        PLEASE TAKE NOTICE, that on Monday, March 18, 2013 at 10 o’clock in the forenoon

 or as soon thereafter as counsel may be heard, the undersigned attorneys for the debtor will move

 before the Honorable Michael B. Kaplan, U. S. Bankruptcy Judge, at the United States Bankruptcy

 Court, Courtroom 8, 402 East State Street, Trenton, New Jersey 08608 for an order approving

 bidding procedures and thereafter approving the sale of the Debtor’s liquor license to Ichabon of

 Toms River, LLC, or to such other person who makes a higher and better offer. IN the event of

 competing offers, the License will be sold to the highest bidder at an auction to be held in court at

 the time and place aforesaid.
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        PLEASE TAKE FURTHER NOTICE that the undersigned shall rely upon the Verified

 Application certification in support of said Motion.

        PLEASE TAKE FURTHER NOTICE that in accordance with Local Rule 9013-1(f) of

 the Rules of Procedure governing the practice before the United States Bankruptcy Court for the

 District of New Jersey, the Debtor requests oral argument of this motion.

       PLEASE TAKE FURTHER NOTICE that in the event that no objection of other

 responsive pleading is file to this Motion, the Motion shall be deemed uncontested on the return

 date and the relief sought herein may be granted in the Court’s discretion.

        A proposed form of Order also accompanies this Motion.

                                       Broege, Neumann, Fischer & Shaver, LLC
                                       Attorneys the Debtor/Debtor-in-Possession
                                       Bay Three Limited, Inc.


                                       By: _ /s/ Timothy P. Neumann___________
                                                TIMOTHY P. NEUMANN

 Dated: March 25, 2018




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                                     SERVICE LIST
 Via email:

 Jersey Central Power & Light Company
 c/o Ira Deiches via email to: ideiches@deicheslaw.com

 Boston Pizza Restaurants, LP
 c/o Daniel M. Eliades via email to: deliades@formanlaw.com

 Mitchell Hausman on behalf of U.S. Trustee United States Trustee
 Mitchell.B.Hausman@usdoj.gov

 Jerrold S. Kulback on behalf of Interested Party Anthony Baiamonte III
 jkulback@archerlaw.com, mfriedman@archerlaw.com

 Steven J. Mitnick on behalf of Creditor Plainfield Fruit and Produce Co Inc
 smitnick@sm-lawpc.com, lindsay@sm-lawpc.com

 Timothy P. Neumann on behalf of Debtor Bay Three Limited, Inc
 timothy.neumann25@gmail.com, btassillo@aol.com;geoff.neumann@gmail.com

 Michael F.J. Romano on behalf of Creditor First Franchise Capital Corporation
 mromano46@comcast.net, tyowell@romanogarubo.com

 Benjamin Teich on behalf of U.S. Trustee United States Trustee
 Benjamin.Teich@usdoj.gov

 United States Trustee
 USTPRegion03.NE.ECF@usdoj.gov

 Via U.S. Mail, First Class, Postage Prepaid:

 Allied Beverage Group LLC
 788 Sloan Ave.
 Hamilton Township, NJ 08619

 Allied Beverage Group LLC
 2900 E State Street
 Trenton, NJ 08619

 Allied Beverage Group, LLC
 600 Washington Ave.
 Carlstadt, NJ 07072




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 American B D Opici Wine Company
 447 Oakshade Road
 Shamong, NJ 08088

 Ritchie & Page Distributing Company
 175 New Canton Way
  Robbinsville, NJ 08691

 Credit Compliance Corporation
 941 White Horse Ave., Suite 17
 Trenton, NJ 08610

 Division of Alcoholic Beverage Control
 140 East Front Street - 5th Floor
 P.O. Box 087
 Trenton, NJ 08625

 Office of the Attorney General of New Jersey
 Richard J. Hughes Justice Complex
 PO Box 106
 Trenton, NJ 08625 – 0106

 State of New Jersey
 Division of Taxation
 PO BOX 245
 Trenton, NJ 08695-245

 State of New Jersey
 Division of employer Accounts
 PO BOX 379
 Trenton, NJ 08625-0379

 Internal Revenue Service
 Centralized Insolvency Operation
 P.O. Box 7346
 Philadelphia PA 19101-7346

 First Franchise Capital
 One Maynard Drive,
 Suite 2104
 Park Ridge, NJ 07656-1878

 Romano & Garrubo
 118 Washington Street
 Morristown, NJ 07960




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 Boston's Pizza Restaurants L.P.
 1501 LBJ Expressway Ste 450
 Dallas, TX 75234-6076

 H Robert Guild Associates Inc.
 2201 Monmouth Blvd
 Wall Township, NJ 07719-4249

 Robert Ott, Inc
 1605 Bass Point Drive
 Manasquan, NJ 08736-2103

 JCP&L
 PO Box 3687
 Akron, OH 44309-3687

 Greenberg & Schulman
 90 Woodbridge Center Drive,
 Suite 610
 Woodbridge, NJ 07095

 AB And LA Easement Holding
 54 Liberty Drive
 Southampton, PA 18966

 Point Pleasant Distributors
 PO Box 2088
 Caldwell, NJ 07007-2088

 Jersey National/Capitol Wine & Liquor Co
 Raff & Masone P.A.
 1081 Avenue C
 Bayonne, NJ 07002-3345

 Plainfield & Fruit
 832 Executive Avenue
 Edison, NJ 08817

 Affordable Pumping Services
 37 Locker St
 Bayville, NJ 08721-1244

 The Towel Guy
 PO Box 1710
 Toms River, NJ 08754




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 NJNG
 1415 Wyckoff Road
 Belmar, NJ 07715-0001

 Fedway National Accounts
 PO Box 519
 Kearny, NJ 07032-0519

 The Wasserstrom Company
 477 S Front St
 Columbus, OH 43215-5625

 Wise Wayne Corp
 5140 Paysphere Circle
 Chicago, IL 60674-0001


 NUC02
 PO Box 9011
 Stuart, FL 34995-9011

 Crown Beer Distributors
 PO Box 2000
 Allenwood, NJ 08720-2000

 Direct TV
 PO Box 60036
 Los Angeles, CA 90060-0036

 Shore Point Distributing Inc
 PO Box 275
 Adelphia, NJ 07710-0275

 U.S. Attorney General
 970 Broad Street
 Newark, NK 07102-2434




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